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                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA

 SONY MUSIC ENTERTAINMENT, et al.,

                        Plaintiffs,
                                                   Case No. 1:18-cv-00950-LO-JFA
                v.

 COX COMMUNICATIONS, INC., et al.,

                        Defendants.


                       [PROPOSED] STIPULATED ORDER
                   TO PRODUCE IDENTIFYING INFORMATION
               CONCERNING CERTAIN COX BUSINESS SUBSCRIBERS

       WHEREAS Plaintiffs have requested in discovery for this litigation that Defendants

(“Cox”) produce identifying information for Cox Business Subscribers that were the subject of

Plaintiffs’ notices of alleged copyright infringement sent to Cox between February 1, 2013 and

November 26, 2014 (“Business Subscribers”);

       WHEREAS Cox has produced certain billing and payment reports from its ICOMS system

at COX_SONY_00973760 through COX_SONY_00973767, which identifies customers by cate-

gories without revealing specific identifies of customers, and which shows that 2,793 Business

Subscribers (in addition to certain residential subscribers) were the subject of copyright infringe-

ment notices from Plaintiffs;

       WHEREAS Cox has represented that, pursuant to its business privacy policy, Cox provides

information about Cox Business Subscribers to third parties only as required to comply with the

law; and

       WHEREAS Cox contends that its disclosure of personally identifiable information about

subscribers to Cox’s cable service or other service is governed by the Cable Communications Pri-

vacy Act, 47 U.S.C. § 551;
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       IT IS HEREBY STIPULATED AND AGREED by and between Plaintiffs and Cox that

Cox shall make reasonable efforts to notify the Business Subscribers, within five days of entry of

this Stipulated Order, of Cox’s intent to disclose their name and contact information to Plaintiffs

pursuant to this Order. Such notice shall give the notified Business Subscribers an opportunity to

seek relief from the Court within ten days. If a notified Business Subscriber fails to object and seek

such relief within fifteen days of this Stipulated Order, Cox shall promptly disclose such Business

Subscriber’s name, address and associated ICOMS ID to Plaintiffs, subject to the Stipulated Pro-

tective Order in this case (ECF No. 58).



Dated: May 6, 2019                             Respectfully submitted,

                                                        /s/ /Scott A. Zebrak/
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                                                       Scott A. Zebrak (VSB No. 38729)
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 ORDER GRANTING STIPULATION TO PRODUCE IDENTIFYING INFORMATION
          CONCERNING CERTAIN COX BUSINESS SUBSCRIBERS

       IT IS HEREBY ORDERED that within five days, Cox shall provide notice to the certain

Cox Business Subscribers described above, of Cox’s intent to produce their name and address to

Plaintiffs in connection with this litigation. Such notice shall give the Business Subscribers ten

days to object or seek relief from the Court. If a notified Business Subscriber fails to object within

fifteen days of this Stipulated Order, Cox shall promptly disclose such Business Subscriber’s name

and address to Plaintiffs, subject to the Stipulated Protective Order in this case (ECF No. 58).



       ENTERED this _______ day of ___________________, 2019



Alexandria, Virginia                                          __________________________
                                                              The Honorable Liam O’Grady
                                                              United States District Judge
                                                              Eastern District of Virginia




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                                CERTIFICATE OF SERVICE

       I certify that on May 6, 2019, a copy of the foregoing STIPULATED ORDER TO PRO-

DUCE IDENTIFYING INFORMATION CONCERNING CERTAIN COX BUSINESS SUB-

SCRIBERS was filed electronically with the Clerk of Court using the ECF system, which will send

notifications to ECF participants.

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